
70 N.Y.2d 828 (1987)
Jerry B. Wilson Roofing and Painting, Inc., et al., Respondents,
v.
Jobco  E. R. Kelly Associates, Inc., et al., Appellants.
Court of Appeals of the State of New York.
Submitted September 8, 1987.
Decided November 12, 1987.
Motion for leave to appeal from so much of the order of the Appellate Division as pertains to respondent Jerry B. Wilson Roofing and Painting, Inc. denied. Motion for leave to appeal from so much of the order of the Appellate Division as pertains to respondent Wilson Roofing Co. dismissed upon the ground that that portion of the order does not finally determine the action within the meaning of the Constitution.
